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        Democracy Dies in Darkness



    March on Washington: Sharpton bemoans
    ‘broken promises’ as thousands march in
    D.C.
    By Patricia Sullivan, Lori Aratani, Dana Hedgpeth, Emily Davies, Lola Fadulu, Marissa J. Lang,
    Meagan Flynn, Julie Zauzmer, Justin George, Teddy Amenabar, Kyle Swenson,
    Jessica Contrera, Katie Mettler, Peter Jamison, Michelle Boorstein, Michael Brice-Saddler,
    Samantha Schmidt, Tom Jackman, Justin Wm. Moyer, Rebecca Tan, Clarence Williams and
    Fredrick Kunkle


    August 28, 2020 9:39 p.m. EDT


    Thousands of protesters gathered Friday at the Lincoln Memorial to call for overall criminal
    justice restructuring and racial equality while honoring the 57th anniversary of the Rev. Martin
    Luther King Jr.’s “I Have a Dream” address from the same location.

    Planning began in June after the funeral of George Floyd. Organizers said they wanted to
    highlight the civil rights issues of today and bring well-known speakers to address the crowd
    while also mitigating the spread of the novel coronavirus with strict safety protocols.

    The march — dubbed the “Get Your Knee Off Our Necks” Commitment March on Washington —
    began with speeches from the steps of the Lincoln Memorial, which was followed by a coordinated
    march to the Martin Luther King Jr. Memorial in West Potomac Park.



        Here are some significant developments:

        •   As the Rev. Al Sharpton took the podium, an area kept socially
            distanced since 7 a.m. became crowded with protesters who held up
            their phones to record his speech.




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        •    Martin Luther King III followed his young daughter by saying that while
             this march marks the anniversary of his father’s famous American
             Dream, “We must never forget the American nightmare.”

        •    The memory of late civil rights icon John Lewis loomed large, his
             influence palpable in almost every corner of the demonstration. It was
             rare for a speech to end without an ode to the late congressman or a
             reference to his iconic quote about “good trouble.”

        •    Joined by other members of the Congressional Black Caucus, Rep.
             Joyce Beatty (D-Ohio) called on Congress to pass the George Floyd
             Justice in Policing Act, which bans police officers from using chokeholds
             and no-knock warrants. The bill has already passed the House.




    9:39 p.m.

    The live blog is closed
    Please follow The Post’s continuing coverage of the March on Washington here.


    By Tom Jackman



    9:31 p.m.

    Rain leaves few protesters at BLM Plaza
    By 9:15 p.m., the rain had driven all but a few protesters from Black Lives Matter Plaza. Those
    who remained shouted at police guarding St. John’s Episcopal Church, yelling familiar slogans
    like “Quit your job!” and “Hands up, don’t shoot!”

    One woman shouted that the crowd should change the slogan to a new one: “Hands up, shoot
    back!”

    Months of protest had brought no change, she said.

    “We’ve been out here doing the same things!” she said. “I’ll be the first one to say it!”




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    Beneath construction scaffolding near 15 and H streets, a young man lay passed out. Protesters
    passed him, eyeing him uneasily.

    “We should try to get him out of the rain,” one said.

    “Is there a blanket?” asked another.

    A woman walked to him and placed a “Defund the Police” sign on his legs, where drips from the
    scaffolding above were falling. Another protester brought him a Gatorade.

    “Put it where someone won’t take it!” one said.

    So the protester placed the Gatorade between the man’s arms before the group walked on.


    By Justin Wm. Moyer



    9:10 p.m.

    Long day of marching ends with emotion outside the
    African American museum
    As night fell, a group of around 200 protesters who had shut down Interstate 395 and scuffled
    with police officers on South Capitol Street ended their hours-long march in front of the National
    Museum of African American History and Culture. Drenched and exhausted, they gathered in the
    middle of the street, again blocking traffic.

    “I want my 40 acres and a mule,” Kevin Cramer, a 25-year-old consultant and one of the march
    organizers said into a microphone.

    Black people had every right to protest given their role in American history, he said.

    “If I built it,” he said, “I can burn it down.”

    Next up was Bethlehem Yirga, a teacher at Elliot-Hine Middle School in the District, who
    apologized to the crowd for being hoarse.

    “I lost my voice,” she said, but continued, even as tears began to fall down her face.

    Yirga, 35, said she’d lost 27 students to gun violence in 10 years. Little seemed to be changing.

    “When did this go up, someone fact-check me,” she said pointing to the gleaming museum.

    “2015,” a woman in the crowd said, mistakenly, of the museum that opened a year later.




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    “We built this country on our backs and we got that museum in 2015,” Yirga said. Yirga wept as
    she pleaded for her 3-year-old daughter not to have to grow into the same conditions as she did.

    “She should not have to live this life,” Yirga said, tears continuing to stream down her face. “Why
    do we have to do this? Why do we have to do this?”

    Cramer concluded the march with a prayer. And they drifted off into the darkness, but not before
    making plans to protest again the next day.


    By Michael Miller and Michael Brice-Saddler



    8:15 p.m.

    Protesters splinter throughout the city as storms pass and
    night falls
    After a day of peaceful marches and speeches on the Mall, smaller pockets of protesters and
    demonstrators remained scattered throughout downtown Washington. As night fell and torrential
    rains passed, splinter groups spread out through the city, blocked traffic, yelled at police and
    continued to demand social justice.

    Groups at the Wharf in Southwest Washington blocked cars around 7 p.m., with some trying to
    get a driver out to march with them. Shortly later, about 200 protesters started walking on a ramp
    onto Interstate 395 before police on bikes followed. A brief standoff ensued, including what
    appeared to be a demonstrator pushing an officer. The group blocked the interstate before
    leaving.

    At Black Lives Matter Plaza, a small burst of tension sparked just before 8 p.m., with a handful of
    rowdy protesters yelling at police outside St. John’s Episcopal Church.

    Other groups continued to remain peaceful, including about 150 demonstrators listening to
    impassioned speeches near the National Museum of African American History and Culture later
    in the evening.

    Some said they planned to regroup at Black Lives Matter Plaza and Freedom Plaza later in the
    night for more rallies.


    By Michael Miller, Rebecca Tan and Michael Brice-Saddler



    7:30 p.m.




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    He was in the 5th grade when MLK was killed. Today, he
    came to D.C. to watch history in the making.
    Greg Mills was sitting in class on that April day in 1968, halfway through his lessons, when his
    fifth-grade teacher abruptly stopped teaching and sent the kids home. School officials in
    Greensboro, N.C., didn’t explain why, but his mother did: The Rev. Martin Luther King Jr. had
    been killed, and riots had begun downtown.

    “She came running up to us and said, ‘There’s trouble in the streets, get home!’” Mills recalled
    Friday, sitting outside the World War II Memorial. He displayed a painting he made for the
    march.

    “People were so angry,” he said. “They didn’t feel heard. Just like today.”

    On Friday, he stood next to his creation, fist raised, repeating the Toni Morrison quote depicted
    on the brightly painted piece to passersby: “The function of freedom is to free someone else.”

    As streams of protesters made their way back from hours of speeches at the Lincoln Memorial,
    several stopped to snap pictures and marvel at the work. Mills began painting it, he said, the day
    the Rev. Al Sharpton announced the “Get Your Knee Off Our Necks” march. Thursday night, he
    bent over the piece in his home in Harlem, coloring in letters, putting on the finishing touches.

    “It’s supposed to be provocative,” Mills said. “To make people stop and think.”

    He later migrated north, landing in upper Manhattan. Earlier this year, he was one of several New
    Yorkers drafted to paint the words “Black Lives Matter” on a Harlem street. How far that moment
    felt from the reality of the little boy he had been, attending a segregated school in a Southern city.

    Friday’s march, Mills said, felt to him like another step forward.

    “We have to be like termites — keep at it until the foundation propping all this inequality up starts
    to crumble,” he said.

    Though he wasn’t able to get inside the buffer to see the speakers up close, he said, he listened to
    their voices carry over the Mall and found comfort in watching the waves of young people wander
    in and out.

    “They’re the ones who will carry on,” Mills said. “It means so much for me to see that. It feels like
    we can almost exhale.”


    By Marissa Lang




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    7:21 p.m.

    In the downpour, cops and demonstrators caught under the
    same overpass
    When the skies opened up at around 6 p.m., a group of about 400 marchers heading south on
    12th Street scrambled to take cover under the closest place available: the Interstate 395 overpass.

    As heavy rains came down, the marchers began to chant, sing and dance — a few of them skipping
    in the rain, with their hands to the heavens — as others strummed guitars or banged on drums
    and frying pans. It was a carnival atmosphere, as a few marchers lit marijuana cigarettes and
    others ate snacks from dollies protesters had pushed across town.

    One young male protester with a megaphone began spray-painting anti-police messages on the
    tile walls.

    At the other end of the tunnel, about 50 yards away, a dozen police officers watched, the two
    groups equally immobilized by the downpour.

    As the man spray-painted, drawing the gaze of the officers, some protesters called for those with
    bikes to block the officers’ view.

    In the no-man’s land between the two groups, strange stragglers meandered: a man with a pillow
    under his shirt and a pig mask that he lifted just long enough to emit pungent smoke, and an
    older man who was following the group but took offense at a marcher’s passionate call to defund
    police.

    “I don’t think I agree with what he said,” the older man said.

    At around 6:30, the clouds parted and the demonstrators started walking again — the bike
    officers not far behind.


    By Michael Miller



    7:10 p.m.




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    Coast to coast, protester sees differences
    Sheltering from the storm on the National Archives colonnade, Jaylen Welch, 18, reflected on the
    year he’s had. When he started his senior year of high school in Gresham, Ore., a Portland suburb,
    he never imagined he’d witness violent protests there — then fly to D.C. for a historic march just
    days before he starts his freshman year at a community college.

    Protesting has become a “hobby,” he said.

    “Even when I’m not protesting, I’m behind the scenes,” he said. “It’s already opened doors.”

    Though he came from a city that’s seen startling clashes between police, antifa and white
    nationalists, Welch was impressed with D.C.’s protest game. One major thing was different: Black
    people. Not just Black people protesting, but Black police officers.

    Where he’s from, cops don’t look like him.

    “There are more Black police officers here than I’ve ever seen in my life,” he said. Of protesters, he
    added: “They’re driven. I feel they’re out for the cause. Black lives matter to them.”

    When the rain stopped, Welch walked down the stairs of the Archives into the street. The group
    he was with had attempted to block the Ninth Street tunnel but had been foiled by rain. But
    tonight, protesters were gathering at Black Lives Matter Plaza at 11 p.m., and he said he would be
    there to see what happens.


    By Justin Wm. Moyer



    7:05 p.m.

    Visitors from Dayton, Ohio, offer to support protesters as
    they shut down highway
    Just before protesters turned down the Whitehurst Freeway, a mom and her two grown daughters
    from Dayton, Ohio, leaned over the concrete barricade and called out to the marchers.

    “Does anyone need a med kit?” the women asked.

    Brittany King, 30, Kristen King, 36, and Patti King, 64, all White, and still wearing neon-green
    wristbands from events earlier in the day, said they had brought the medical supplies just in case.

    “I mean, we watch the news,” Brittany quipped.

    “We know what’s been going on,” Kristen added.




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    The march, they said, was powerful, peaceful and inspiring.

    At the event, billed as a “commitment march” meant to underscore participants’ dedication to
    racial justice and criminal justice reform, the King family said it made them feel like they had
    more work to do. So when they happened upon a group of black-clad demonstrators chanting,
    “It’s a revolution,” they wanted to help.

    Though they admitted they preferred the tenor of the Rev. Al Sharpton’s march, Brittany King
    said, they supported the protesters doing “what they feel is necessary” to push for systemic change
    and racial equality.

    “We can do more,” Kristen said. “We have to do more to make sure things change.”

    “We will,” her mother said, nodding.

    As the group began to march down the ramp onto the highway, the women waved before
    continuing on their way.


    By Marissa Lang



    6:52 p.m.

    Bored after blocking bridge, women find a way to entertain
    themselves
    Bored and restless waiting for the storm to pass, a few women within the group of protesters that
    blocked the Key Bridge came up with an idea.

    A police cruiser appeared to be watching them from across the street in Washington Circle.

    Three women took off their shoes, then leaped out into the road, dancing in the rain. They
    pirouetted toward the parked officer, then stopped in front of his car.

    All at once, they lifted their shirts, exposing their breasts. Behind them, protesters cheered. The
    reaction of the officer inside the vehicle could not be seen.


    By Jessica Contrera



    6:40 p.m.

    ‘Y’all are on the side of history’


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    As dark clouds gathered overhead, a group of about 250 marched past the Trump International
    Hotel, chanting at police gathered there, “You are gonna lose your job.”

    Later the marchers reached the Mall, where they were joined by about 100 more protesters.

    Lightning flickered across the sky to the east over the Washington Monument, when Ty Hobson-
    Powell took the megaphone.

    “They will tell you that what we are doing now is un-American, the right-wing pundits. But the
    Boston Tea Party was the same thing: standing for what’s right. I look out at the crowd and see
    people, old and young, and y’all are on the side of history,” said the 25-year-old organizer with
    Concerned Citizens of D.C., who works for the University of the District of Columbia.

    “I want you to know history will remember you all as patriots.”

    As rain began to fall, reporters and marchers stood beneath a large metal wind chime art
    installation related to the history of slavery.

    “This is not where you want to be,” said a protest medic, noting the lightning.

    As the group continued north from the Mall, a young White woman with a black T-shirt over her
    face knelt to spray-paint on a highway overpass. A group of 20 bike police officers nearby didn’t
    notice.

    “We have nothing to lose but our chains,” she wrote hurriedly, the blood-red paint dripping down
    toward the ground.


    By Michael Miller



    6:31 p.m.

    Outside the White House, activists in orange jumpsuits
    push for prison reform
    They marched in orange jumpsuits with cuffs on their wrists and bags over their heads,
    representing a group of incarcerated men who they say have endured prolonged solitary
    confinement in prison.

    And as they marched through Black Lives Matter Plaza, they sang.

    “Mama, Mama, can’t you see what this prison’s done to me?”




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    The activists, led by the Incarcerated Workers Organizing Committee (IWOC) in D.C. and
    including a daughter whose father was in prison, settled outside the White House. They stood in
    silent protest for a moment as one held a sign that said, “End Prison Slavery.”

    They had come to call for the release of 16 men who they said have been in solitary confinement
    since they were accused of participating in a prison uprising at James T. Vaughn Correctional
    Center in Smyrna, Del., in which one correctional officer was killed. One man was convicted of
    murder while others faced lesser charges or were acquitted.

    As the 16 people in orange jumpsuits lined up in front of the White House, Qiana Johnson, the
    executive director of Life After Release, an organization in Prince George’s County, Md., spoke
    through a megaphone.

    “I am a formerly incarcerated Black woman in America,” she said, speaking passionately about
    what she called injustices from prosecutors and judges that lead to mass incarceration. “Just
    because it isn’t you doesn’t mean it can’t be you,” Johnson said. “Until we get that mind-set
    together we will always be in a mental cage.”

    Johnson, who is also a court organizer with BLM DC, spoke about the disparity she sees between
    how the criminal justice system treats young Black people compared with young White people.

    She used Kyle Rittenhouse, the White 17-year-old charged with fatally shooting two
    demonstrators in Wisconsin, as an example.

    “If it was my son,” she said, the police “would have put five bullets in his back. Trust that.”

    Fariha Huriya, a 31-year-old IWOC activist, said the prisoners would not have believed three
    years ago that anyone would be calling for justice for them outside the White House.

    “Having been one of their closest comrades all these years,” she said, “Watching what solitary
    confinement has done to them, you lose your sense of trust in humanity. They feel almost
    hopeless inside. … It makes me almost in tears today seeing people stand up for them.”


    By Meagan Flynn and Katie Mettler



    6:23 p.m.

    Activists deepen their commitment to each other in day of
    protest




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    Wearing matching red, green and black Black Lives Matter flags as capes, John Meche and Mi-
    Chael York were among a crowd of stragglers still at the Martin Luther King Jr. Memorial as the
    sun went down Friday, reading quotes on the wall while drummers and dancers sang and swayed
    near the King statue. The day unified their different paths to racial justice activism — and their
    connection as a couple.

    Meche, 42, is an Afro-Latino sociology professor in New York City and a longtime activist. York,
    who is 32 and Black, works in IT in Louisiana. Coming together in D.C. was part of deepening
    their relationship as men of color, and for Meche to show York more of that part of his life, and
    for them to face where the nation is together.

    “Last night Mi-Chael was saying how emotional this is. We’re doing what our parents did, fighting
    for the same things,” Meche said.

    York, whose justice work in the past has been focused more on advocating for people in the
    workplace, has been energized in part by his bond with the more activist Meche.

    “My parents went through this, and you think, ‘Okay, mom and dad took care of this,’ and now
    we’re doing the same thing,” York said.

    Meche said since 1963 he thinks things have regressed for men of color “in our opportunities, in
    the country’s values” and around equity. That said, the men felt encouraged by Friday’s rally and
    march. They felt it showed unity among activists — including attendees of different races and
    ethnicities and ideologies.

    Both said they come from families that are politically wide-ranging.

    “Being an advocate for George Floyd, Breonna Taylor — who’s going to tell that story, to our
    nieces and nephews —” York said.

    “And our children,” Meche added, as they smiled.


    By Michelle Boorstein



    6:10 p.m.

    Police arrive to guard St. John’s Church
    As the sky grew overcast over Black Lives Matter Plaza, some protesters turned their attention
    away from the makeshift DJ station and to a group of about a dozen officers guarding St. John’s
    Church, where President Trump had staged a photo op two months earlier.




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    Tensions ticked up after a male protester jumped over the concrete barrier, prompting two dozen
    more officers to arrive on the scene.

    “Whose streets? Our streets!” protesters yelled, raising their fists in the air.

    Frustration followed the arrival of the storm. Just before 6 p.m., a White man jumped over the
    fence surrounding St John’s, prompting other protesters to crowd toward the barrier.

    “Don’t you dare touch him!” one yelled at the officers as they jogged around the perimeter of the
    church, asking protesters to stay back.


    By Rebecca Tan



    6:01 p.m.

    On the Key Bridge with protesters and police
    Dozens of protesters marched down the middle of the Francis Scott Key Bridge just after 5 p.m.
    Friday as a protester turned the group’s attention to the thick brigade of D.C. police officers on
    bicycles following close behind.

    “Say hello to our boys in blue,” she shouted.

    The crowd jeered, raised one finger and thrust their hands at the police. They settled onto the hot
    pavement, some lighting cigarettes, others drinking from water bottles. The smell of sage mingled
    with the smell of spray paint as demonstrators painted “ACAB” on the concrete retaining wall and
    “Black Lives Matter” in the middle of the road.

    Overhead, dark gray storm clouds gathered.

    “For those of you who aren’t from here, let me tell you why this is a big deal that we’re sitting on
    this bridge,” an organizer said. “This is one of the busiest bridges in D.C. We’ve now backed up
    traffic for at least 20-something … miles.”


    By Marissa Lang



    6:01 p.m.




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    Group calls for shutdown of D.C.
    Carrying a banner with the words “Total abolition for total liberation,” a group of about 75 people
    walked down Constitution Avenue toward Ninth Street on Friday evening. They hoped to block
    the street at the Ninth Avenue tunnel to “choke the city,” one protester said.

    It was one of several efforts across the city that sought to block off major entrances to D.C. to
    show those who converged at the nation’s capital earlier in the day that “radical organizing isn’t
    tourism,” said one protester who declined to be named but was part of Freedom Fighters DC.

    Most of the protesters wore black clothes, and many wore goggles and helmets. One person
    carried a bat, and another man wore what appeared to be a bulletproof vest.

    The protesters in the group chanted an anti-police slogan as they walked by four officers on the
    south end of the Ellipse. “You can’t stop the revolution!” they shouted.


    By Samantha Schmidt



    5:58 p.m.

    Black mothers who lost sons decry police violence
    Black mothers who have lost sons to police brutality hoped to call attention to their grief during
    Friday’s “Get Your Knees Off Our Neck” march.

    A group of women, which included more than 50 mothers from Texas, was invited to the event by
    the National Action Network about a month ago, according to one of the mothers, Conchita
    Campfield, 64.

    Campfield arrived on the National Mall at 6:15 a.m. She patiently waited for volunteer medical
    students from Howard University to take her temperature. She was then offered gloves, hand
    sanitizer, masks, and neon green wristbands from volunteers through the National Action
    Network.

    Campfield’s son was Gregory Campfield Jr. She said he was killed at age 40 by police officers in
    Prince George’s County on Aug. 9, 2018. She remembers him as a loving father; he coached his
    son’s football team.

    “We just need to put the guns down,” Campfield, who is from the D.C. area, said. “We’re killing
    each other and we got the gangs in blue that are killing us as well.”




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    Monica Watson, 53, and Carol Harrison Lafayette, 54 were also among the first to be let into the
    event around 6:40 am.

    Watson, who is Black, said she lost her son in 2014 to police brutality in Winston Salem, N.C. “I
    want to speak out because it’s a little small town, and my son’s case got swept under the rug,” she
    said.

    She took money she budgeted for rent to drive from Durham, N.C., to the march.

    This is her first time in the District and she is most interested in hearing from the other mothers.
    “We got a pain that don’t nobody feel but us,” Watson said.

    The recent police shooting of Jacob Blake in Kenosha moved her to attend. “When I saw that I fell
    to my knees just like I did when George Floyd got killed,” she said through tears.

    She hopes being out today brings her a little peace. She had the opportunity to meet a long time
    friend of George Floyd, Travis Cains, who offered words of comfort.

    She said her son, Montez Hambric, 26, was killed by police in Winston Salem on May 25, 2014.

    Another mother, Dee Crane, flew in from Arlington, Tex. She said her son Tavis Crane was
    murdered by police in 2017 in Arlington after a traffic stop when he was 23.

    Crane, who is 56 and Black, is fed up with the little progress the country has made.

    “They give us little pieces of crumb and expect us to go back to our corners and be happy,” she
    said. “I’m sick of crumbs. I don’t want a slice of the pie, I want the whole pie. I need the whole pie.
    We need the whole pie. Our ancestors made the pie.”

    Campfield attended Martin Luther King Jr.’s 1963 “I Have a Dream” speech. She pointed to the
    clearly visible water of the Reflecting Pool around 11 a.m.. Back then, she said, the water wasn’t
    visible because people were standing in it. She remembers meeting people who walked to the
    District from North Carolina. She saw people set up tents.

    “I was a youngster,” she said. “I still remember it like it was yesterday.”

    She said the country has “come a long way, especially to have the first Black president, but we still
    have a long way to go.”

    She left around 1:19 p.m. during Al Sharpton’s speech citing the crowds. By the time she left, more
    than 20 people had moved to stand in the Reflecting Pool.


    By Lola Fadulu




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    5:06 p.m.

    Same spot, but a different scene at Black Lives Matter Plaza
    Around 4 p.m., several hundred demonstrators gathered to listen to speakers at Black Lives
    Matter Plaza.

    The crowd, most wearing masks, was a model of peaceful protest. The scene was very different
    from some of those that unfolded a few hundred feet to the south in May, during protests over the
    police killing of George Floyd in Minneapolis.

    It was there, at the metal fence blocking the northern perimeter of Lafayette Square, that police
    aggressively forced out demonstrators ahead of President Trump’s photo op at St. John’s
    Episcopal Church. It was there, on multiple nights, that demonstrators tried to push down the
    barriers, faced by rows of U.S. Park Police in riot gear, and where pepper spray and smoke from
    fireworks choked the air.

    But Friday, the fence at Lafayette Square — still covered with hundreds of signs and placards —
    was quiet. The intersection of 16th and H streets was no longer a battleground. Some stopped to
    stare through the chain links at the park’s empty expanse before moving north to join the crowd.


    By Peter Jamison



    4:53 p.m.

    After a day of marching, a long trip back to New York
    As the crowds started marching toward the Martin Luther King Jr. Memorial, scores of people
    split off and walked down Constitution Avenue, tired and hot and, in some cases, making their
    way to Union Station to catch a bus home.

    “This is more people than we really anticipated,” said Russell Cheek, a political consultant who
    works for the New York City Council, as he walked down Constitution Avenue hoping to buy a
    bottle of water.

    Cheek said he helped coordinate buses filled with protesters making the trip from New York.
    More than 30 buses, filled at less than half capacity for social distancing, drove down to D.C.
    before dawn, he said.




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    Some protesters waited on the streets of the Bronx as early as 2 a.m. to catch a bus to
    Washington.

    “A lot of people are tired because it took a lot just to get here,” he said.

    And many of them still had a long journey home, that same afternoon.

    “The buses are pulling out at 4 p.m., with or without you,” he said.


    By Samantha Schmidt



    4:50 p.m.

    Protesters begin rally for police abolition at Washington
    Circle
    At 4:15 p.m., a few hundred protesters gathered at Washington Circle, preparing for a march of
    their own. A significantly younger crowd had formed, many dressed in black. Some carried body
    armor, eye protection and respirator masks. An organizer said the gathering included groups
    from Miami, Detroit, New York, Portland, Ore., Philadelphia and Chicago.

    They split up the crowd into smaller groups, advising, “We’re all going to the same place.”

    Organizers said they were going to block a bridge and “shut down the whole city.”

    “It’s a beautiful day to take over Chocolate City,” an organizer yelled as a few hundred people
    prepared to march toward Georgetown.

    A few D.C. police cruisers began blocking off the roads ahead of them, while others lined up
    beside the circle. No officers on foot were in the group.

    “We are going to the wealthiest, most gentrified Caucasian parts of the city,” the organizer said,
    promising to disturb people’s Friday.

    Speakers with the Palm Collective and They/Them Collective, groups that have called for the
    abolition of the D.C. police department, gave instructions as clusters of protesters began to put on
    black bandannas and goggles while reciting the National Lawyers Guild hotline number in case of
    arrests.

    Sharpies were passed around so the number could be written on sweaty arms and legs. One
    speaker advised that if any members of the news media took photos of them, protesters could use
    an umbrella to block them.




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    “Do you want a revolution?” a man called.

    “Woop! Woop!” the crowd chanted back.

    “What do we say?” an activist said.

    “I didn’t see s---,” the crowd responded.

    “That’s right!” a man called appreciatively.


    By Marissa Lang and Jessica Contrera



    4:31 p.m.

    Mincing no words, Maryland teacher calls for more de-
    escalation
    Maryland public school teacher Sharlisa Leeks has little patience for those who turn to weapons to
    settle disputes.

    “As a Black schoolteacher working in the 'hood, I’ve de-escalated so many fights. If I can de-
    escalate a fight, and keep two kids from killing each other, why can’t y’all do that? I’m not
    equipped with a weapon,” she said. “No one gets hurt, and I’m able to keep my students from
    being suspended. So what’s your excuse?”

    Watch the full video above.


    By Jon Gerberg



    4:29 p.m.

    Some marchers find a brief respite in the shadow of the
    MLK Jr. Memorial
    Thousands of protesters who danced and marched from the Lincoln Memorial down 23rd Street
    seemed to breathe a sigh of relief once they came to the Martin Luther King Jr. Memorial.

    Their movements slowed and they wandered through the site, many snapping selfies and tearing
    open melted granola bars. Hundreds sat dangling their feet over the Tidal Basin. Others picnicked
    across shaded grass.




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    Mariah Alo, 27, and O’Shea Johnson, 26, relaxed under a tree, water bottles empty and masks still
    on.

    After months of strict quarantine, it was Alo’s first protest of the summer. She spoke of the
    “ambiance” of the event, saying she felt moved to be around so many people who shared her
    values.

    “But,” she said, “it is very, very hot.”

    She and her friend sat atop their handmade signs, trying to find energy to keep marching.

    “We’re recharging,” she said. “It is needed.”


    By Emily Davies



    4:27 p.m.

    ‘Every Case Matters’ protest at Justice Department draws
    hundreds
    Gathered outside the U.S. Department of Justice, a crowd of about 200 people circled a pickup
    truck and listened as the relatives of victims of police violence spoke into a microphone.

    The protesters, led by the groups Every Case Matters and Mass Action Against Police Brutality,
    demanded that the Justice Department reopen all cases of police brutality and prosecute the
    officers responsible.

    Ishtyme Robinson, whose daughter died in 2010, also criticized “the amplification of victims” and
    of certain names and families “at the expense of millions of Africans slaughtered on this soil.”

    “We don’t get anything personally by fighting individually,” she said. “My individual gain is your
    personal loss because the group is not protected.”

    “Every case matters!” the crowd shouted, even as a protester spray painted the name of Jacob
    Blake onto the street. “Every case matters!”

    Tawanda Jones, 42, who lost her brother, Tyrone West, said the Rev. Al Sharpton‘s speech Friday
    was “just for the cameras.”

    “Those cameras go off,” Jones said. “The pain never goes off. The pain never stops.”




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    Andrew Ocasio, 26, of New York City, asked the crowd: “How many people here know the story of
    my mother, Sandy Guardiola? None,” he said. He told the story of his Puerto Rican mother, who
    he said was shot and killed by a law enforcement officer during a wellness check in her home.

    “There are thousands of stories that we never even heard of. The media wants to keep their eyes
    closed. They only want to highlight the ones they want to highlight,” Ocasio said. “I stand here for
    the thousands of Sandys we never even heard of.”


    By Samantha Schmidt



    4:00 p.m.

    Among the marchers, a federal agent demonstrates
    Among the marchers was a special agent with the Department of Homeland Security who has
    been in law enforcement for decades.

    On Friday morning, he pulled on a black T-shirt with the names of people who have died at the
    hands of police printed on the back: Eric Garner, Alton Sterling, Philando Castile. Then on a piece
    of masking tape, he wrote in bold letters “JACOB BLAKE,” the name of the man shot seven times
    by police this week, and added it to the list.

    “He needed to be recognized, just like the others,” said the agent, who spoke on the condition of
    anonymity because of his job.

    The agent, who is Puerto Rican and Native American, said he and his wife, who is Black, marched
    Friday because they believe in all social justice movements — the Women’s March, the March for
    Our Lives and the protests that broke out in the summer after George Floyd and Breonna Taylor
    were killed by police.

    “There’s a need for change,” he said. “There’s a cry.”

    He understands that cry in his personal and professional life, he said. He grew up in New York
    and watched his friends die or go to prison. He has experienced racism at football games, and he
    and wife said they have been racially profiled while driving.

    The agent said he and others in his family went into law enforcement to try to make change from
    the inside. But his attempts to change the racism baked into the law enforcement community has
    been met with opposition and retaliation, he said.

    “I got into it to make a change, and I became part of their problem,” he said.




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    The biggest problem, he said, is White people choosing to stand idly by.

    “The only way to kill a snake is to cut its head off. When that snake has reared and given birth to
    thousands underneath him, it just becomes that more deep rooted,” he said. “The poison lives
    on.”


    By Katie Mettler



    3:54 p.m.

    Republican convention was hard to stomach, protesters say
    For Suzanne Rideout, 61, and Terri Bell, 58, the decision to drive to Washington from Pittsburgh
    was obvious.

    “We couldn’t not be here,” Bell said. “Given what this all means and this administration. I mean,
    this is urgent.”

    Bell watched snippets of the Republican National Convention this past week while preparing for
    the march, but Rideout said she could not bring herself to stay tuned-in for long.

    “It was nauseating,” she said, moving her gray Afro out of her face.

    “It was — it was obscene,” her cousin chimed in. “As a Black woman, there hasn’t been one day
    that I haven’t felt the effects of racism, but hearing Trump speak and not acknowledge a single
    Black and Brown body that has died ... it was obscene.”

    Afriquah Imani, 70, said she also found it hard to watch the GOP convention. “It was too much,”
    she said while resting in the shade along Constitution Avenue. “Too much, too much, too much.”

    Born and raised in Milwaukee, Imani said she has spent decades as an activist. But as a Black
    Muslim woman, the past four years have been particularly hard to bear, she said. The shooting of
    Jacob Blake “just down the street” left her feeling numb, she added.


    By Rebecca Tan



    3:46 p.m.

    D.C. police chief says demonstrations were ‘very peaceful’




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    D.C. Police Chief Peter Newsham described the demonstrations as “very peaceful” and said the
    “mood is very positive.”

    The chief, interviewed at 3 p.m., said officers were monitoring a group of antifascists gathered at
    Washington Circle.

    “We’re hoping they will be peaceful as well,” Newsham said.

    Meanwhile, officials at D.C. Fire and EMS said they had been dealing with mainly heat-related
    issues.

    As of 4 p.m., the department had treated 106 patients from the rally. Of those, eight were taken to
    hospitals, while more than 50 were treated at a medical tent.

    Vito Maggiolo, a fire department spokesman, said most of the calls were for people suffering from
    heat-related ailments. The calls, he said, “are rising by the minute. It’s nonstop dispatches for
    various calls.”


    By Peter Hermann



    3:41 p.m.

    March splinters, with some heading to Justice Department
    As crowds marched toward the Martin Luther King Jr. Memorial, hundreds peeled off and walked
    down Constitution Avenue toward the Justice Department, chanting “No justice, no peace,
    prosecute the police.”

    Led by a group called Mass Action Against Police Brutality, they marched behind a banner with
    the words “REOPEN THE CASES.” Music blasted from a pickup truck. Four people sat on the
    back of the truck, holding signs that said “Jail Killer Cops.”

    “Sharpton wanted people to wait until August for people to do something,” Sirad Zahra said into a
    megaphone at the front of the march. “Here we are, and now they want to walk down memory
    lane.”

    She criticized Sharpton’s list of demands, saying it lacked consequences for law enforcement. “So
    we decided to take a direct route on our march,” she said. “We are not going to walk down
    memory lane. We are walking to the Department of Justice. Let’s go, y’all.”

    The group is demanding that the Justice Department reopen all cases of police brutality.




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    “How can you have a bill in the name of George Floyd that doesn’t require the reopening of cases,
    that doesn’t require that cops that are guilty of killing someone actually serve time in jail?” Zahra
    said. “It’s time for justice. We can’t wait.”


    By Samantha Schmidt



    3:26 p.m.

    Deaths that never made the media matter too, a mother
    says
    As the Rev. Al Sharpton spoke, Ishtyme Robinson walked away from the crowds of people
    gathered around him. She instead marched toward the U.S. Department of Justice, where she
    planned to meet other mothers of victims of police brutality.

    Robinson’s daughter, Ahjah Dixon, was 23 when she died in a jail cell in Corsicana, Tex., in 2010.
    About five years later, Robinson formed Every Case Matters with others families of victims of
    police violence.

    On Friday, they planned to deliver a petition with more than 92,000 signatures demanding that
    the Justice Department reopen all cases of police brutality, and link them all as one collective
    case, “as one assault.”

    “Al Sharpton is not speaking for the masses,” Robinson said. “Al Sharpton is speaking for his core
    group of mothers, his picks. ... But for the rest of us whose stories have never made it into the
    media, we’re just thrown under the bus.”

    By amplifying certain cases and families, she said, Sharpton is co-opting the efforts to seek justice,
    and sending a “salient message to the rest of the community that our daughters don’t matter.”

    “He needs to stop trying to speak for us, because he doesn’t,” Robinson said.


    By Samantha Schmidt



    3:19 p.m.

    Black women of Bethesda with a history and a future




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    Lucy Perez remembered the 1963 March for Freedom and Jobs, which her male relatives were
    allowed to attend (but not her). Her uncle, she said, operated on the Rev. Martin Luther King Jr.
    after he was stabbed in New York. The families stayed in touch, and Lucy went into the church
    with her family for King’s funeral.

    “I’m sick that I’m still doing this,” said Perez, who protests and volunteers for racism-related
    issues five days a week. “But I am so proud of the way my daughter thinks. She didn’t drink the
    Kool Aid.”

    “What’s the Kool Aid?” asked Nikki Perez.

    “Racism,” said her mother.

    “That it’s our fault,” said the daughter. “Black people aren’t the problem. It’s white supremacy.
    Like women’s suffrage wasn’t women’s problem. The idea that White people own everything. Too
    often the suggestion is that if we don’t act a certain way — it’s, just submit and you won’t be
    killed.”

    Looking around at the masked thousands sitting and standing quietly in the thick, humid air,
    listening to speeches, Lucy Perez had a word to describe the crowd: “committed.”

    She remembered when she graduated high school in Brooklyn decades ago and asked her
    counselor to provide the mandatory signature for her to take the college entrance exam. The
    counselor refused and instead directed her to menial work.

    Nikki said her experience is different from her mother’s, but she feels societal changes toward
    Black people are “performative."

    “We may be allowed in the room, but we don’t get a seat at the table,” she said.

    The mix of police killings and the virus and the election, they said, have created “the perfect
    storm."

    “People are exasperated,” they said.

    However, the plus is that the quarantine has left many people with more time to organize, Nikki
    said.

    “We can’t allow this opportunity to be wasted,” she said.


    By Michelle Boorstein



    3:06 p.m.




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    From Zanzibar and Kentucky, protesters bond at rally
    The lawn in front of the Lincoln Memorial offered many people respite from the crowds circling
    the Reflecting Pool, and that’s where Mahl Ot Sansosa knelt in the grass to write on the Pan-
    African flag she had brought.

    “Nous Sommes Tout Pour Moi,” she wrote in marker. It was French for, “We are everything to
    me,” she said.

    Originally from Brazil, with a mother from Zanzibar, she said, she brought the flag to represent
    French Africans and other groups also facing discrimination and abuse.

    “We’re all under a global oppression,” she said.

    Feet away, Quenshell Wakefield sat in a plastic chair with her husband, Allen, sitting at her feet.
    Five months pregnant, Quenshell and Allen had driven from Louisville, where they had been
    protesting the killing of Breonna Taylor by Louisville police for 93 days.

    Every day, Allen Wakefield said, he had been out marching for Taylor. Four days ago, a photo of
    him sitting in the middle of traffic during a protest with his 3-year-old son, Ayden, had gone viral.
    Three days ago, he said, police were shooting rubber bullets at him.

    “We are tired,” Quenshell said. “Tired of being mistreated.”

    To them, the march represented a safe place. A place people all across the U.S. who have been
    marching on the streets, facing down police, could be united and feel secure.

    “Back home if we did anything like this, police will be there to shut it down, rubber bullets …
    broken bones,” Allen said. “The more people, the less of a threat, [police] are. What can you do to
    a group this large? We are peaceful protesters.”

    Around them, kids wearing Black Lives Matter apparel chased each other in play, as the mother of
    Breonna Taylor choked up during a speech to the crowd.

    “I want to be part of the voice to be heard,” Quenshell said.


    By Justin George



    3:02 p.m.




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    Black military vets put lives on the line overseas. At home,
    how safe are they?
    Cindy Laws’s father fought in Vietnam, she joined the Army and her son joined the Air Force.

    And yet, after her family’s three generations of service, both overseas and at home, Black military
    vets like them are still fighting for justice in their own country, Laws said.

    She said she came to march thinking of the Black men in her family, namely her 24-year-old son.

    “It scares me to death to think my son, who is on active duty in the Air Force fighting for this
    country, could be pulled over and shot and killed because of the color of his skin,” said Laws, a 49-
    year-old Black Army veteran, now a government contractor. “He can go off and risk his life, put
    his life on the line, for a country that doesn’t care about his.”

    Her friend, Shelton Cunningham, 54, said he served in the Army overseas in Afghanistan and
    Iraq. But it has been “sickening,” he said, that even in a nation at peace, violence by police and
    among civilians can at times feel worse than the violence he experienced in the military.

    “It’s a shame to go to war and come home to this, and it’s the same thing,” Shelton said, before
    packing up and proceeding to the march. “There’s more gun violence here than over there.”

    Shelton and Laws were among about 12 military veterans who knew each other from the service
    and decided to meet in Washington.

    Corthie Woods, 42, said she arrived in Washington from Florida two weeks ago so she could
    complete the city’s required quarantine for visitors from states with high rates of the coronavirus.

    “I wanted to witness history,” she said.


    By Meagan Flynn



    3:02 p.m.

    Collecting history as it happens
    She approached the group of women seated on the 17th Street levee quietly.

    “Hi,” she started. “I’m collecting people’s experiences, if any of you want to share.”

    She held out a canvas covered in black marker. People’s signatures, neat script and jagged scrawls
    spread across the piece.




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    Ciara Turner, 30, is a student of history, she said, and ever since George Floyd was killed in late
    May, she has been documenting this moment in time — the protests, and those who have poured
    into the streets to be heard.

    On this day, the 57th anniversary of the seminal 1963 March on Washington, she said, she has
    been asking people to reflect on how far the nation has come — and how much further it has to go
    to achieve true equality.

    “So much of our history as Black people has been erased,” she said. “This is my small way of
    protecting that history, preserving it for my children so I can tell them what happened in this
    moment in time.”

    A larger canvas hangs in her Northern Virginia home, covered in messages of urgency, anger and
    pain.

    On Friday, people wrote things like: “i’m marching because I can, and therefore I must!”

    They immortalized the names of victims of police violence, including George Floyd and Jacob
    Blake.

    When she’s done collecting — whenever this moment reaches its conclusion, she said — she wants
    to donate the canvas to the Smithsonian Museum of African American History and Culture to
    preserve it, long after her protesting days end.


    By Marissa Lang



    2:57 p.m.

    With raw emotion, relatives of those injured and slain
    speak out
    As the speeches entered their third hour, the political addresses of the morning gave way to
    something far more raw: a parade of one Black man and woman after another, each of them the
    relative of a person murdered or injured in recent years, whose case caught the public attention.

    Eric Garner Jr. led the crowd in one of its familiar chants: “I can’t breathe.”

    “It’s been six years since my father’s words became our words,” he said.

    Ahmaud Arbery’s parents shared their grief. “I’m used to my boy calling me, saying he loves me.
    Sometimes I’m like, ‘He forgot to call me,’ ” Marcus Arbery said.




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    Wanda Cooper-Jones, Arbery’s mother, encouraged hope amid the mourning: “I do believe if we
    continue to stand and fight together, we will get change.”

    Trayvon Martin’s mother, Sybrina Fulton, echoed her: “Even though we’re going through a crisis,
    even though it looks dark, I want to tell you to be encouraged. … Don’t stop saying ‘Black lives
    matter.’ Don’t stop peaceful protesting,” she said. “Stand up. We was built for this.”

    One after another, as each speaker came to the podium, the crowd chanted the name of their child
    or brother or sister or parent. There were so many families of the victims, organizers said there
    wasn’t time for all to speak.


    By Julie Zauzmer



    2:45 p.m.

    The march and police violence, through the eyes of children
    While parents of Black men and women killed by police took the stage, parents of Black children
    shushed their kids and asked them to listen.

    There were hundreds of children in the crowd, riding in strollers, marching in light-up sneakers,
    carrying backpacks they wouldn’t be taking to school this year.

    They couldn’t see above the heads of all the adults crowded in around the Lincoln Memorial, but
    still they tried to process all that was happening around them.

    “We are here so they can stop shooting us,” said Malik Leak, 11.

    “White people are not happy that Black people are happy,” said Rylee Bates Trenard, 9. Her
    6-year-old cousin was wearing a T-shirt with the words “My skin color is not a crime” written
    across jail bars.

    “It’s a lot of people here. I usually don’t like to be around a huge crowd,” said Jahzarah Royal
    Nichols, 7. “I packed my favorite chocolate and I packed some Gatorade and these are my beach
    chairs.”

    Earlier in the week, Jahzarah’s mother had shown her the video of Jacob Blake being shot,
    determined to show it to her daughter before she saw it elsewhere.

    “The law is that you can’t attack an innocent Black man,” Jahzarah’s friend Malcolm, 9, said as he
    scooped up a handful of Goldfish. “It doesn’t make any sense. They know that, but they are still
    doing it.”




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    Behind him, two Black boys chased each other around a tree, playing freeze tag.


    By Jessica Contrera



    2:45 p.m.

    A fountain of water offers a break from the heat
    As George Floyd’s brother delivered an emotional speech, a firetruck parked next to the Lincoln
    Memorial sprayed a powerful fountain of water to help people cool down. Kids and adults alike
    stepped into the spray, squealing and dancing with glee. They emerged drenched and smiling. It
    was a joyful scene, offering respite from the heat and intensity of Friday’s event.


    By Emily Davies



    2:23 p.m.

    Bridgett Floyd challenges marchers to take action
    When Bridgett Floyd took the podium Friday to speak about her brother, George, the thousands
    around the reflecting pool erupted in chants of “George Floyd!”

    After a brief emotional address by her other brother, she issued a challenge.

    “I want you to ask yourself: What will be your legacy?” she asked the sea of people in masks. “Will
    future generations remember you for your inaction, complacency, or for your empathy,
    leadership, for weeding out injustices?”


    By Michelle Boorstein



    2:18 p.m.

    A Minnesota voice: ‘50, 60 years later, and we’re still here.’
    Loretta Haynes, 63, still remembers the first time racism found her. She had traveled with her
    family from Minnesota to the South for vacation. They had stopped at a gas station to use the
    restroom, then suddenly her stepfather and uncle were rushing her back into the car and speeding
    away.




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    “They’re following us,” she remembers them saying, and she remembers feeling that nothing felt
    right.

    Now, decades later, she knows that what she felt was fear. She was 8.

    Haynes was a girl during the first March on Washington, she lived through the assassination of
    the Rev. Martin Luther King Jr., and she witnessed the uprising this summer over police violence
    and racism that “busted open” America, she said.

    The reckoning began in her family’s backyard in Minnesota after George Floyd, a Black man, was
    killed when a Minneapolis police officer knelt on his neck. This week, she traveled from St. Paul,
    Minn., to Washington with three generations of women in her family: her nieces Martina
    Edwards-Golden, 52, and Teneshia Collins, 41, and Collins’s 10-year-old daughter, Alaysia
    Ransom.

    They all wore shirts that said “ITS OKAY TO BE BLACK!!” on the front and “MN BLACK” on the
    back. They marched back home in Floyd’s name, and they helped clean up the Twin Cities after
    weeks of protests. They decided to come to Washington this week — their first time ever traveling
    to the nation’s capital for a protest — because “This is history. For us, for her,” Haynes said of
    Alaysia.

    For Edwards-Golden, the march was personal. She worked in nutrition services with Philando
    Castile, the Black man who was shot and killed by Minneapolis police. Her nephew, Marcus
    Golden, was shot and killed by St. Paul police Jan. 14, 2015.

    Collins, who works at the University of Minnesota, said that for her, it’s hard to reconcile that
    people in Washington today are fighting for the same things that brought marchers to the capital
    decades ago.

    “This is crazy,” she said. “Fifty years, 60 years later, and we’re still here.”


    By Katie Mettler



    2:16 p.m.

    Crowd overflows as protesters surge to the Mall
    They descended on the Mall from all directions, carrying messages on signs and on their already
    sweat-soaked T-shirts: “Unbreakable,” said one. “B — don’t kill my tribe,” said another. “Good
    trouble,” read a tank top commemorating John Lewis. One woman wore a dress that simply said:
    “Nah.”




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    By noon, the crowds stretched far beyond the area that required a temperature check to enter.
    Thousands lounged in the grass around the Vietnam Veterans Memorial, listening to speeches
    and slipping down their masks to sip water.

    They cheered as speakers talked of Sen. Kamala D. Harris, of America’s teachers, of the
    responsibility to vote.

    Sharilyn Wagner, 71, rested on a bench, fanning herself with a sign that said, “I don’t understand
    how you don’t understand.”

    “The lines were so long and my back was hurting, so I couldn’t get my wrist band,” she said.

    She had taken vacation from her job as a bus driver, flown from Austin to Baltimore, then taken a
    $70 taxi ride to get here at 8 a.m.

    “There were ones that have gone on and paved the way for us, Martin Luther King Jr. And John
    Lewis, but my generation hasn’t come that far,” she said. “But I believe in this younger generation,
    oh yes I do. I just know that the young people are going to take us where we need to be” — she
    pointed to a reporter’s phone — “with all that high tech and stuff.”

    She watched the crowds passing by her, noticing just how many of the young Black women were
    wearing braids. In 1978, she said, she was told she couldn’t wear her long braids while she worked
    as a bus driver. She had to remove them as she fought the rule through her union. She won.

    Today, gray ringlet curls framed her Chanel mask as she listened to Martin Luther King III speak
    of the “American nightmare.” Wagner had been in middle school — a segregated middle school —
    57 years ago when his father stood in the same spot.

    When she came home that day, she saw the speech on a small black-and-white TV. Her parents,
    who had grown up picking cotton, told her that man was “making good sense.”

    Now she would have the chance to tell her children, grandchildren and great-grandchild about
    this day.


    By Jessica Contrera



    2:15 p.m.

    Jacob Blake’s father speaks as Kenosha death sharpens
    urgency of the March




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    The shooting of Jacob Blake in Kenosha, Wis., the most recent police shooting to shake the
    nation, sharpened the urgency of the march, and as the speeches at the Lincoln Memorial neared
    an end, Blake’s family took the podium.

    “There are two systems of justice in the United States. There’s a White system and a Black
    system,” Blake’s father, Jacob Blake Sr., said. His own father joined the march in 1963, he said.

    “We’re tired. I’m tired of looking at cameras and seeing these young Black and Brown people
    suffering. We’re going to hold court today. We’re going to hold court on systemic racism,” he said,
    then led the crowd in proclaiming the country “guilty, guilty, guilty.”

    Letetra Widman, Blake’s sister, spoke to the Black community.

    “Black America, I hold you accountable. You must stand. You must fight, but not with violence
    and chaos,” she said. “Black women, you are your brothers’ keeper …. Black children, read! Learn!
    Grow and live and question everything. Black men, stand up. Stand up, Black men! Educate
    yourself and protect the Black family unit.”


    By Julie Zauzmer



    1:52 p.m.

    Sharpton breaks down the reasons for organizing a march
    in Washington
    The Rev. Al Sharpton promised this march on the day of George Floyd’s funeral. He hadn’t made
    any plans yet, or done any of the logistical legwork it would eventually take to pull off a civil rights
    march in the midst of a pandemic. But he knew he would do it: another march on Washington, in
    the tumultuous summer of 2020.

    As Sharpton took the podium, one woman yelled “I love you, Al” and people began breaking
    through fence barriers and piling into the VIP area beneath the steps of the Lincoln Memorial.
    The area, which had been kept socially distanced since 7 a.m., became instantly crowded with
    protesters who held up their phones to record Sharpton’s speech.

    Standing on the steps of the Lincoln Memorial looking out at that idea come to fruition, Sharpton
    offered a history lesson, and an exhortation.




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    In 1863, he said, the man honored behind him in monumental marble signed the Emancipation
    Proclamation. “He promised us full citizenship if we fought to save the union. He promised us 40
    acres and a mule. We never got full citizenship. We never got the reparations. We come to Lincoln
    [Memorial] to say we are tired of broken promises,” Sharpton said.

    A century later, in 1963, the marchers on Washington brought their lunches in brown bags
    because restaurants wouldn’t serve them. Sharpton celebrated the progress that means today’s
    marchers could stay in any hotel in the city.

    But as he introduced relatives of Breonna Taylor and George Floyd to speak of today’s Black grief,
    Sharpton spoke of the long way that still remains.

    “America, we need to have a conversation about your racism, your bigotry. We need to have the
    conversation about how you would put your knee on our necks while we cry for oxygen,” Sharpton
    said. “We’ve gone from Bull Connor to Bull Trump. We’ve gone from a mean-spirited sheriff to a
    mean-spirited president.”

    Like almost every speaker, Sharpton focused above all on the importance of voting in November.

    “We don’t care how long the line is. We don’t care what you do. We’re going to vote: not for one
    candidate or another, but we’re going to vote for a nation that will stop the George Floyds, that
    will stop the Breonna Taylors,” he said. “For too long, you acted like we didn’t matter. They say,
    ‘well, everybody matters.’ But everybody hasn’t mattered the same in America. The reason we
    had, and we still have to say ‘Black Lives Matter’ is because we get less health care like we don’t
    matter. We go to jail longer for the same crimes like we don’t matter. … Black lives matter, and we
    won’t stop until it matters to everybody.”


    By Julie Zauzmer and Emily Davies



    1:46 p.m.

    MLK’s 12-year-old granddaughter: ‘We will fulfill my
    grandfather’s dream'
    Yolanda Renee King stood in a black-and-white jumpsuit, barely taller than the lectern as she
    spoke from the very steps that her grandfather etched indelibly into American memory. At age 12,
    she is the young inheritor of Martin Luther King Jr.’s vision, and of his oratorical gifts.

    “We are the great dreams of our grandparents,” she boomed out from the Lincoln Memorial. “We
    will fulfill my grandfather’s dream.”




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    “Less than a year before he was assassinated, my grandfather predicted this very movement. He
    said that we were moving into a new phase of the struggle: the first phase was civil rights, and the
    new phase is genuine equality. Genuine equality is why we are here today,” she said. “He said that
    we must not forget the days of Montgomery. We must not forget the sit-in movement. … Papa
    King, we won’t!”

    She pledged her hope in Generation Z: “We are going to be the generation that dismantles
    systemic racism, once and for all.”

    Calling himself a “proud dad,” Martin Luther King III followed his young daughter by saying that
    while this march marks the anniversary of King’s famous American dream, “We must never forget
    the American nightmare.”

    “We still struggle for justice, demilitarizing the police, dismantling mass incarceration,” said King,
    who was 10 years old when his father was assassinated. He focused much of his speech on the
    importance of overcoming voter suppression. “There’s a knee upon the neck of our democracy,
    and our nation can only live so long without the oxygen of freedom.”

    King praised the marchers as resembling the “coalition of conscience” that his father spoke of, as
    they marched aware of the dangers of coronavirus: “We are socially distant but spiritually united.
    We are masking our faces but not our faith in freedom.”

    While King quoted from many of his father’s most famous phrases, he said that today’s activists,
    working to achieve the voting rights that their predecessors fought for, should not become too
    mired in the past. He urged civil rights activists to join and support today’s protest movements,
    including the Women’s March, Parkland students’ March for Our Lives, and the climate
    movement.

    “If Dad were here today, I’m sure he would implore us not to deify him or selectively quote him
    where convenient,” he said. “He would gently but intently challenge us not to dwell upon the past.
    … We must become the heroes of the history we are making.”


    By Julie Zauzmer



    1:17 p.m.




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    Sen. Kamala Harris: ‘We have an opportunity to make
    history’
    Sen. Kamala D. Harris, the Democratic vice-presidential nominee, spoke to marchers in a
    recorded video.

    In an address focused on the historic leaders whose protests led to this time, Harris expressed
    hope that Friday’s movement would bring change.

    “If we work together to challenge every instinct our nation has to return to the status quo … we
    have an opportunity to make history, right here and right now,” she said.

    While noting that the 1963 March on Washington was organized by labor leaders, the top officials
    of several unions also spoke at the 2020 march.

    Randi Weingarten, who leads the American Federation of Teachers, said the “shameful condition”
    that Martin Luther King Jr. spoke about “has not been cured; it’s been metastasized.”

    Weingarten spoke of a Psalm she recites at her synagogue, and said, “Those of us who are White,
    we need to be real allies and real supporters … We must call out those who cling so tightly to their
    privilege that it is an oppressive tool against equality.”


    By Julie Zauzmer



    1:08 p.m.

    Congressional Black Caucus calls for ban on police
    chokeholds, no-knock warrants
    Joined by other members of the Congressional Black Caucus, Rep. Joyce Beatty (D-Ohio) called
    on Congress to pass the George Floyd Justice in Policing Act, which bans police officers from
    using chokeholds and no-knock warrants. The bill has already passed the House.

    “We are here today because people died and were denied civil and economic rights,” Beatty said.
    “We are here today because George Floyd had a knee on his neck. Eight minutes, 46 seconds.
    Black lives matter.”

    She continued: “Silence is not an option because Black people face a symbolic chokehold every
    time we walk, speak up, shop, jog, drive and, yes, breathe."




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    Beatty went on to quote Martin Luther King Jr., restating: “In America, a riot is the language of an
    unheard people.”

    Before concluding her speech on the steps of the Lincoln Memorial, Beatty called on the crowd
    before her to “go vote, go vote, go vote, go vote. And, yes, I’m congresswoman Joyce Beatty, and I
    approve this message.”


    By Teddy Amenabar



    1:08 p.m.

    Marchers honor the memory of Rep. John Lewis and ‘good
    trouble’
    The memory of late civil rights icon John Lewis loomed large over Friday’s protest, his influence
    palpable in almost every corner of the demonstration.

    It was rare for a speech to end without an ode to the late congressman or a reference to his iconic
    quote about “good trouble.”

    The Rev. Keith Byrd of Zion Baptist Church got the crowd on its feet with the words: “Let’s get
    into some good trouble. Let freedom ring.”

    As throngs of people waited in line to get their temperatures checked, one woman streamed down
    the line cheering, “Good trouble. This is good trouble.”

    James Barry, 54, had last stepped foot on the Mall to pay his respects to Lewis (D-Ga.) during his
    public viewing. Lewis had been his guiding light since he was a boy in Baltimore, he said.

    Barry recalled a childhood spent being bused to school in a White Baltimore neighborhood. As
    race riots broke out around him, he found hope in thinking about Lewis. Just like the thought of a
    man determined to achieve justice gave him comfort as a child, it served as a profound source of
    motivation for his participation in Friday’s march.

    “He didn’t wait for the fight to come to him, he brought the fight,” said Barry, an employee with
    the Treasury Department. “And that is what we are doing here today.”

    He leaned over a fence, dressed in a “Good Trouble” T-shirt and a mask that read “Vote.,” and
    watched the crowd move and sway before him.




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    Barry said he felt a heightened sense of responsibility to show up at Friday’s march now that
    Lewis is gone. With many of the civil rights giants no longer living, he said he wants to carry their
    torch for younger generations.

    “These children need somebody to blaze the trail for them, to open it up so they can get through,”
    he said, pointing to a young girl listening from a shaded patch of grass.


    By Emily Davies



    1:04 p.m.

    ‘We shouldn’t still be having to do this,’ marchers say
    As the public-address system blasted the voices of the speakers on the steps of the Lincoln
    Memorial across the Mall, Bryan Edwards, 35, stood in the grass near the monument considering
    Friday’s march in terms of history — and history’s failures.

    “We shouldn’t have to still be doing this,” said Edwards, who traveled with friends from New York
    for the march. “When Martin Luther King appeared on these steps, that should have been the
    peak moment. But the racism continues, so we have to keep coming out and keep coming out,
    again and again.”

    “See, I don’t care about any of that,” his friend Mahl Ot Sansosa, 37, cut in. “I don’t care about
    American politics or American history," she said, saying she was attending the march because she
    has a parent who was deported.

    Sansosa explained that her father had been deported in 1996 but didn’t provide other details.

    “The United States has tried to destroy many people and countries, including mine,” Sansosa said.
    “I’m here to show that they didn’t destroy me. I can still be here.”


    By Kyle Swenson



    12:43 p.m.

    Law enforcement is a low-key presence at Friday’s march
    The law enforcement presence by midday Friday was far more limited than the tension-filled
    standoffs the city has seen in the summer and attracted little attention from protesters.




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    Where military tanks had once blocked off streets, protesters saw D.C. garbage trucks instead.
    U.S. Park Police passed easily through the crowd gathered near the gates around the Lincoln
    Memorial. Satellite-topped TV trucks outnumbered police cruisers on 23rd Street.

    Protester Michellene Bonney, 32, wore camouflage and stood close to her boyfriend, scanning the
    area and trying to “remain vigilant,” she said.

    But she said she hadn’t seen many officers.

    “Coming to this event, we were like, ‘What precautions do we need to take?’ ” she said. “But we are
    thinking because this march is so televised, it won’t be treated in the way that other protests
    were.”


    By Jessica Contrera



    12:31 p.m.

    Minister traces police violence back 2,000 years
    The Rev. Jamal Bryant started his speech with history more than 2,000 years old, comparing the
    American police officer shooting Black father Jacob Blake in the back to the Romans who stabbed
    Julius Caesar.

    Blake’s shooting was the most “heinous crime” since Caesar’s assassination in 44 B.C., Bryant
    said.

    “Today, while it is that you stand, Jacob Blake finds himself paralyzed from the waist down,”
    Bryant said. Then he spoke metaphorically about the Black community: “Even when you render
    us paralyzed, we still know how to crawl. And on November 3, we’re going to crawl to the polling
    places no matter what you do. If you take away the mailboxes, we’re still going to crawl.”

    Bryant had harsh words for those who endorsed President Trump at the Republican National
    Convention this week, comparing them to slaves, and for Black Americans who aren’t sure
    whether to support Sen. Kamala D. Harris (D-Calif.), who would become the first Black vice
    president if elected.

    “Don’t tell me about what it is that she did in the past, and you not tell me about what she wants
    to do in the future. She wants to make sure we get rid of private prisons, that there are no more
    mandatory minimums, and marijuana is no longer an illegal substance,” he said.




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    A pastor, Bryant also criticized both Black and White churches that do not support social justice
    movements. He castigated Black churches that are uncomfortable joining racial justice
    movements that have LGBT leaders, and White churches that align with conservative politicians.

    “Don’t tell me you’re pro-life, and White evangelicals are silent while Black people are dying in the
    streets,” he said.


    By Julie Zauzmer



    12:24 p.m.

    Lawmakers pledge to work toward healing, justice and
    systemic changes
    On the steps of the Lincoln Memorial, Rep. Ayanna Pressley (D), the first Black woman elected to
    Congress from Massachusetts, said the current March on Washington came about because of the
    “sacrifice and self-determination” of all Black ancestors, not only the men and women reported
    “in our history books.”

    “The truth of the matter is we are because of them,” Pressley said. “We will work toward healing,
    justice and liberation like our lives depend on it.”

    Rep. Adriano Espaillat (D-N.Y.) called for a robust package of federal legislation to address
    marchers’ concerns — including criminal justice changes, police reforms and voting rights
    expansion.

    “Let’s get rid of the chokehold. Let’s get rid of the knee,” he shouted, saying Congress could
    achieve such goals. “Let’s do away with the death penalty. Let’s do away with solitary
    confinement. Let’s do away with mandatory minimums.”


    By Julie Zauzmer and Teddy Amenabar



    12:15 p.m.

    Arab American leader says she represents 3.7 million at
    march
    Maya Berry, executive director of the Arab American Institute, told the crowd assembled in front
    of the Lincoln Memorial that she will march on behalf of 3.7 million Arab Americans.




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    “We do so because it is right and — regrettably — because it is necessary to declare that Black lives
    matter,” Berry said.

    Berry apologized to families who have lost their loved ones to police violence.

    “Until the killing of Black men, women and children stops, until systemic racism and anti-
    Blackness is addressed, the America that we all desire cannot be realized,” she said.

    “Here’s the simple truth: It has been 168 days since Breonna Taylor was killed in her own home,”
    she said. “The system is not broken. It is working as it was designed, and we must change it."


    By Teddy Amenabar



    12:14 p.m.

    Demonstrate, then vote, minister tells crowd
    The Rev. Franklyn Richardson, a New York minister who chairs the Rev. Al Sharpton’s National
    Action Network, exhorted the crowd that no amount of protesting and demonstrating matters
    unless it is paired with voting.

    “This will be a mockery if we do not deliver ourselves to the polls. This will be a disgrace if we fail
    to engage our resources on our own behalf,” he preached.

    “If we fail to bring out our vote … all that we have fought for, all that our forefathers and mothers
    have died for, is at risk of being lost,” he said. “Blood that has been shed for our freedoms is on
    the line.”

    Despite that dark prospect, he said, “We still believe in America’s promise.”


    By Julie Zauzmer



    11:55 a.m.

    ‘We were really close to them.’ Chicagoans come to say
    friends’ names.
    The group of 17 young women and teenage girls left Chicago at 3 a.m. Thursday to catch a flight to
    Washington to say the names of their two friends, Antwainisha Bratcher and Tajanay Samuels, at
    the Lincoln Memorial.




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    The two 19-year-old Black women were killed in Chicago, lost to gun violence. Their friends said
    in D.C. that they are still fighting for justice in those cases. A Chicago Sun-Times story said
    Bratcher and Samuels were sitting in a car about 8:30 p.m. May 26 when they were shot.

    For the two women’s friends in She Chicago, which advocates for female empowerment, Friday’s
    march is personal.

    “We were really close to them. We don’t know who did it,” said Dominicca Washington, executive
    director of She Chicago. “There’s no justice. So, we are here to acknowledge the loss of Black
    female lives as well.”

    As one in the group spoke Bratcher’s and Samuels’s names, she broke down in tears, stepping
    away as others in the group moved to comfort her.

    “We were really close to them,” Washington repeated.


    By Meagan Flynn



    11:49 a.m.

    Long waits to enter rally were no deterrent for marchers
    Thousands snaked through lines on the Mall, awaiting temperature checks and wrist bands as the
    “Get Your Knee Off Our Necks” March on Washington began.

    In some cases, there was little social distancing as the crowds moved closer to the Lincoln
    Memorial and the calls for justice boomed louder from the speakers. Most participants, however,
    did wear masks.

    Volunteers pointed digital thermometers at foreheads as people pushed forward. Those who
    passed were given wrist bands.

    “Over 98.5, you’re not getting no wrist band!” yelled one volunteer, urging those whose
    temperatures were too high to cool down, drink some water and try again later.

    Even though it took some as long as a half an hour to find the end of the line, those who came said
    they would wait as long as it took to join the march.

    The Chairs family — 12 cousins and sisters in matching red shirts — said they drove from Lansing,
    Mich., to be in D.C. on Friday.




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    “It’s systemic, everything that’s happening,” said Zahna Chairs, 26. “It’s not just in police
    brutality, but it’s our health as well.”

    Rodney and Amanda Selman held their three sons’ hands, saying they had been waiting an hour
    and a half but wanted their children to see the event. “I told them, this is history. They’ll look back
    on this and tell their own kids one day,” Rodney Selman said.


    By Meagan Flynn



    11:45 a.m.

    ‘Vote like your life depends on it,’ says attendee who rode
    motorcycle from California
    Porsche Taylor led a group of more than 100 women who rode motorcycles across the country to
    be at the march. They started Monday in California.

    “We are our ancestors’ wildest dreams,” she said about her organization, Black Girls Ride, which
    she described as “a movement of women passionate about motorsports."

    On the long ride, Taylor said, she thought about those who had been killed by law enforcement.
    Riding through Texas, she thought about Sandra Bland, she said.

    “With each act of senseless violence, we feel a stirring in our collective soul,” she said. “We raise
    our throttle hand in support of those in the front lines of our struggle.”

    The next ride, she said, will be to the polling places. “Vote like your life depends on it,” she
    concluded.


    By Julie Zauzmer



    11:41 a.m.

    ‘Injustice has no color:’ Demonstrators from across the
    country feel momentum
    At 10:30 a.m., about a dozen rows of chairs in front of the Lincoln Memorial stairs were filled with
    early arrivals. Some had come a long way.

    David Jones, 56, flew in from Houston. His brother, Alford Jones, 64, came from Michigan.




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    Both arrived in D.C. at 9 p.m. Thursday, went to a hotel and woke up at 5:30 a.m. to get in line
    and grab one of the few seats.

    “We wanted to be a part of the march to support social change,” said David Jones, pulling his face
    mask down to speak. “Not just in Houston or Michigan but the whole country.”

    The Jones brother said they feel momentum in the air. They say the month’s events have proved
    to them that change is here. Instead of being discouraged by the police shooting of Jacob Blake or
    the shootings at Kenosha, Wis., protests on Tuesday, the Jones brothers say they see America
    more united for racial change than ever. Proof, they said, is the number of companies that have
    spoken out and professional sports teams that have decided not to play in support of the cause.

    “It feels like for the first time there’s movement,” Alford Jones said. “It’s so diverse. It’s not a
    Black movement. People are coming out from all over. You see it today. Injustice has no color.”


    By Justin George



    11:37 a.m.

    ‘I knew I would be here today’: Thousands demand racial
    justice at March on Washington
    Just past dawn Friday, more than a half-century after Martin Luther King Jr. stood on the Lincoln
    Memorial’s marble steps and offered his vision for a fair and righteous America, thousands of
    protesters descended on the nation’s capital at the end of a summer that has laid bare just how
    distant the fulfillment of his vision remains.

    Among them was Marilyn Boddy, 62, who had never attended a protest in her life. As a decades-
    long federal employee, Boddy had always been reluctant to join in public demonstrations, but that
    changed when she heard the Rev. Al Sharpton eulogize George Floyd, who died in May beneath
    the knee of Minneapolis police officer.

    “It was right there, in the emotion of that moment, that I knew I would be here today,” she said,
    describing the anger and anguish that shot through her while watching on TV from her New
    Jersey living room.

    On Friday, 200 miles south, she wore a mask inscribed with “BLACK LIVES MATTER” and a red
    T-shirt featuring the same words, surrounded by the faces of 11 dead Black people: Floyd,
    Ahmaud Arbery, Trayvon Martin, Sandra Bland, Tamir Rice, Mike Brown, Eric Garner, Sean Bell,
    Jordan Davis, Rayshard Brooks, Breonna Taylor.




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    Read the full story here.


    By Emily Davies, Lola Fadulu and John Woodrow Cox



    9:37 a.m.

    Band plays ‘A Change is Gonna Come’ at Lincoln Memorial
    Just before 9 a.m., a band played “A Change Is Gonna Come” to hundreds of people who sat in
    folding chairs spaced six feet apart beneath the steps of the Lincoln Memorial.

    Speakers, public figures and families affected by police violence were invited to sit in the fenced-
    off area between the Memorial and the Reflecting Pool. A row of empty chairs in the front was
    reserved for members of Congress.

    As the first speakers took the podium, the credentialed guests stayed socially distanced with
    umbrellas over their heads to block the sun and handmade posters resting in their laps.

    Meanwhile, a crowd trickled into the grassy lawn behind the fenced-off area. They sat in clusters
    and listened to speeches echoing from large speakers, occasionally erupting in cheers.


    By Emily Davies



    9:06 a.m.

    Group from Milwaukee walks 750 miles to join D.C. rally
    A group of people, who walked from Milwaukee, arrived at the Lincoln Memorial at 7:37 a.m.
    Friday to participate in demonstrations.

    “We had to do over 30 miles a day each day on this march, and that made it more difficult,” said
    Frank Nitty, 39, who led the 750-mile journey that started in early August.

    “All the blisters, all the pain in our legs, our feet, and on our journey we’ve been through so
    much,” he said.

    About 20 people joined Nitty when he set out, but more people joined as they passed through
    cities. By the time the group arrived at the memorial Friday morning, there were 70 people.

    The journey was tough, Nitty said. Walkers were blocked from using bathrooms at gas stations.
    They said they were called the n-word. They were hit by a car.




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    Orsino Thurman, 37, who was also involved in the walk, said he was shot by a man and
    hospitalized in Bedford County, Pa. He said he wasn’t deterred.

    “We made it, wasn’t nothing going to stop us,” Thurman said.


    By Lola Fadulu and Marissa Lang



    8:52 a.m.

    Photos: The morning before the march
    By Tim Richardson



    8:18 a.m.

    Police brutality, voting rights, racial justice: Echoes from
    1963′s March on Washington
    On Friday, legions of Americans will descend on the nation’s capital resolved to take advantage of
    “the fierce urgency of now,” a phrase coined by Martin Luther King Jr. on the very same day in
    1963.

    The full name of that historic gathering on Aug. 28 was called the March on Washington for Jobs
    and Freedom. This time, it’s the Get Your Knee Off Our Necks March on Washington.

    As if more than half a century ago had hardly passed, the two events partly mirror each other in
    theme: police brutality, voting rights and new legislation to ensure equal treatment. Both the 1963
    march and the Friday event — co-sponsored by the Rev. Al Sharpton’s National Action Network,
    the NAACP, the National Urban League, the Lawyers’ Committee for Civil Rights Under Law and
    others — share the goal of pressuring lawmakers to act. The 1963 march helped spur the passage
    of the Civil Rights Act of 1964. The 2020 gathering aims to assure that the John R. Lewis Voting
    Rights Act of 2020becomes law, as well as a robust police reform bill named after George Floyd,
    who died in a police killing in May in Minneapolis after an officer knelt on his neck.

    The parallels point to the racist policies, behavior and ideas that stubbornly persist, despite the
    great strides African Americans have made since the 1960s, said Leonard Steinhorn, a professor
    of communication and affiliate professor of history at American University who lectures about
    American politics and the 1960s.




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    See the full story.


    By Sydney Trent



    8:11 a.m.

    First-time protesters line Constitution Avenue near the
    Lincoln Memorial
    The line spilled down Constitution Avenue and turned onto Henry Bacon Drive, flanking the
    Lincoln Memorial with swarms of masked people carrying posters, bullhorns and backpacks of
    snacks in preparation for a long day on the Mall.

    In line stood first-time protesters from across the country, who said that the killings of George
    Floyd and Breonna Taylor were seminal moments in their lives.

    Marilyn Boddy traveled from New Jersey for her first protest in 62 years.

    “Breonna Taylor hit me deep,” said Boddy, who is Black. “If you are not comfortable in your own
    home, where are you safe?”

    Standing with her cousin in matching red shirts, Boddy adjusted a plastic bag that held a sausage
    sandwich and other snacks from her hotel.

    “We are sick and tired,” she said. “At this point I’d crawl over glass to be here.”

    Janice Orgaro, who described herself as “over 70,” flew in from Georgia to march in her first
    protest.

    “I flew here to make a statement that we matter,” said Orgaro, who is Black. She wore a
    homemade shirt that read “Always Remember The Struggle of Our Ancestors.”

    Though she says her friends tell her she should be, Orgaro is not a history teacher. But she said
    she hopes the history of the United States — “built on the backs of Black people” — will be a
    centerpiece of today’s march.

    “This is not just one day,” she said. “It’s our history on display.”


    By Emily Davies



    7:30 a.m.




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    Mothers who lost sons to police brutality among those first
    in line
    Mothers who said they have lost sons to police brutality were among the first to get their
    temperatures checked Friday before entering the “Get Your Knees Off Our Necks” demonstration
    in Washington.

    Monica Watson, 53, said she lost her son in 2014 to an incident of police brutality in Winston-
    Salem, N.C.

    “I want to speak out because it’s a little small town, and my son’s case got swept under the rug,”
    she said.

    Another mother, Carol Harrison Lafayette, 54, said her son was jumped by five Dallas police
    officers in 2017, and she witnessed the encounter.

    “I stood there, and I actually watched them jump on my son,” she said. “Not only did they jump
    on him when they hurt my son, they took him to jail, instead of the hospital.”

    Medical students from Howard University are among those who volunteered to take people’s
    temperatures. Volunteers through the National Action Network passed out gloves, hand sanitizer,
    masks and neon green wristbands to participants as they entered the rally.


    By Lola Fadulu



    7:13 a.m.

    25-day walk to D.C. brings racism, arrests and a sense of
    urgency for March on Washington activists
    Before police shot a Black man from Wisconsin seven times in the back at point-blank range,
    before the National Guard was called in amid nightly unrest, a group of Milwaukee activists set off
    on a protest march calling for an end to racist policing and injustice that would wind through
    mountains and cross state lines.

    In cities big and small, they raised their fists and chanted, “Black lives matter.” In sleepy suburbs,
    they marched and bobbed down empty streets to the beat of music from a tinny cellphone speaker
    or the windows of a support vehicle in their growing caravan.

    They were heading to the 2020 March on Washington the old-fashioned way: by putting one foot
    in front of the other.




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    Led by Milwaukee activist Frank Sensabaugh, better known as Frank Nitty, the group began its
    trek in a Milwaukee parking lot on Aug. 4.

    Twenty-five days later — after arrests, a shooting and countless conversations with angry and
    frightened White residents worried that a “Black lives matter” chant was a foghorn warning of
    violence — the group plans to arrive early Friday in the nation’s capital, where Nitty will take the
    stage at the Lincoln Memorial.

    See the full story.


    By Marissa Lang



    6:44 a.m.

    Civil rights rally closes streets in downtown Washington
    A large section of downtown D.C. will be closed to traffic and street parking on Friday to
    accommodate the civil rights march and related demonstrations.

    Beginning about 6 a.m., D.C. police were shutting down roads generally south of L Street NW
    between 12th and 18th streets, down to Constitution Avenue.

    Constitution Avenue will be closed from 12th to 23rd streets, and all streets around the Lincoln
    Memorial will be blocked off. Independence Avenue will be closed from the Arlington Memorial
    Bridge to 12th Street SW.

    No-parking orders will be in effect beginning at midnight on Friday.


    By Marissa Lang



    6:41 a.m.

    What you need to know about the civil rights rally in D.C.
    Friday’s civil rights rally timed to the 57th anniversary of the Rev. Martin Luther King Jr.'s
    seminal “I Have a Dream” speech, delivered in 1963 from the steps of the Lincoln Memorial, is
    expected to bring thousands to the same location on the Mall.




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    Headlined by the Rev. Al Sharpton, who will be joined by King’s eldest son, Martin Luther King
    III, and family members of several men and women who were killed by law enforcement officers,
    the demonstration will conclude a week of large-scale events in the nation’s capital, including
    days of protests and a fireworks display Thursday night over the Washington Monument to mark
    the end of the Republican National Convention.

    The Friday march — dubbed the “Get Your Knee Off Our Necks” March on Washington — will
    take place in D.C. as the region continues to navigate a still-raging coronavirus pandemic. March
    on Washington organizers initially thought at least 100,000 people would gather, but a permit
    issued Tuesday indicates they now expect about 50,000 people will attend.

    See the latest in our FAQ.


    By Marissa Lang




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